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07
                               UNITED STATES DISTRICT COURT
08                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
09
     UNITED STATES OF AMERICA,            )
10                                        )
           Plaintiff,                     )
11                                        )             Case No.: CR05-0152 RSL
           v.                             )
12                                        )
     BINH T. CHAU,                        )             DETENTION ORDER
13                                        )
           Defendant.                     )
14   ____________________________________ )

15
     Offense charged:
16
            Counts 1 through 44: Bank Fraud (18 U.S.C. § 1344).
17
     Date of Detention Hearing:    April 29, 2005
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     that no condition or combination of conditions which defendant can meet will reasonably assure
21
     the appearance of defendant as required and the safety of other persons and the community.
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            (1)     Defendant met with Pretrial Services in California and before Pretrial Services in
24
     the Western District of Washington. From these interviews, it is evident that the defendant has
25
     no ties to the Western District of Washington, and very few, if any, stable ties to the Central
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 District of California.

02          (2)    Defendant has used false identities and aliases in connection with the alleged crimes

03 for which he was arrested.

04          (3)    Defendant is a financial danger to the community. Losses attributable to his

05 alleged crimes exceed $1,500,000.

06          (4)    There appear to be no conditions or combination of conditions that will reasonably

07 assure the defendant’s appearance at future Court hearings and that will address the danger to

08 other persons or the community.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant is

18                 confined shall deliver the defendant to a United States Marshal for the purpose of

19                 an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.

23
                   DATED this 3rd day of May 2005.
24

25                                                 /s/ JAMES P. DONOHUE
                                                   United States Magistrate Judge
26

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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